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EXHIBIT “R”
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RELEASE AND COVENANT Not To SUE

10.

11.

12.

In consideration of payment in the amount of [insert], Claimant hereby releases and forever discharges, and covenants not to
sue BP Exploration & Production Inc. (“BP”) and the other Released Parties for any losses, damages, costs, expenses,
injuries, claims, causes of actions, liabilities, or other relief that Claimant has or may have, whether known or unknown,
whether present or future, whether direct or indirect, whether legal or equitable, concerning bodily injury (including without
limitation mental health injury and including any alleged economic loss in connection with bodily injury or mental health
injury) (collectively, “Bodily Injury’) arising from or relating in any way to the April 20, 2010 blowout of the Macondo
Well, the sinking of Transocean’s Deepwater Horizon drilling rig, and the subsequent oil spill and response thereto in the
Gulf of Mexico (the “Incident’’) (collectively, “Claims’”’).

Claimant also, on behalf of Claimant’s spouse, heirs, beneficiaries, agents, estates, executors, administrators, personal
representatives, subsidiaries, parents, affiliates, partners, limited partners, members, joint venturers, shareholders,
predecessors, successors, assigns, insurers, and attorneys (collectively, “Affiliates”), hereby releases and forever
discharges, and covenants not to sue BP and the other Released Parties for any Claims released by Claimant pursuant
to Paragraph 1 above. With regard to an insurer of the Claimant, notwithstanding anything to the contrary in the
foregoing, the execution of this Release by Claimant shall not release the claims of an insurer of Claimant if and only
if the Claimant has disclosed in writing on Claimant’s Full Review Final Claim Form for Final Payment or Emergency
Advance Payment Claim Form submitted to the Gulf Coast Claims Facility the fact of a payment, and the amount of
the payment, by the insurer to Claimant.

This Release applies to all Claims for Bodily Injury regardless of the legal or equitable theory (including legal and
equitable theories under federal, state, local, and international law, and including without limitation statutory law,
regulation, common law, maritime law, strict liability, negligence, gross negligence, punitive damages, nuisance,
trespass, assault, and all other legal and equitable theories), whether existing now or arising in the future, arising out
of or in any way relating to the Incident.

Released Parties means anyone who is or could be responsible or liable in any way for the Incident or any damages
related thereto, whether a person, company or governmental entity, including (but not limited to) BP, other potentially
responsible or liable parties, including but not limited to the parties listed in Attachment A to this Release, the federal
Oil Spill Liability Trust Fund and any state or local fund, and each of their respective Affiliates as defined above.
Claimant represents and warrants that Claimant: (i) has authority to execute this Release; and (ii) has not sold or
otherwise transferred or assigned any of the Claims, or any interests in such Claims.

Claimant represents and warrants that Claimant has not received any payment from any insurer or other party (other than
BP or the GCCF) in connection with the Incident, other than payments disclosed on the Full Review Final Claim Form for
Final Payment. However, the representation and warranty contained in this section (6) is not applicable to a Claimant
electing to submit a Quick Payment Final Claim Form and receive a Quick Payment.

Claimant will dismiss with prejudice within 10 days of executing this Release any litigation concerning Bodily Injury filed
by or on behalf of Claimant against BP or any other Released Parties. Claimant also will withdraw (the obligation to
withdraw is satisfied by affirmatively declining to participate if and when the Claimant receives any communication giving
Claimant the option of participating or not participating in a class action or similar procedural device) from any existing and
will not join any new class actions or similar procedural devices alleging Bodily Injury arising from or relating to the
Incident.

This Release is not intended to prevent any of the Released Parties from exercising their respective rights of contribution,
subrogation, or indemnity under any law. To the fullest extent permitted by law, BP is hereby subrogated to any and all
rights that Claimant has relating to Claimant’s claims for alleged Bodily Injury arising from the Incident.

The payment to Claimant is made without any admission of liability or wrongdoing, or any acknowledgment that the
law recognizes any allegation referenced herein, by BP or any other Released Party.

The provisions of this Release and all questions with respect to the construction and enforcement thereof and the rights
and liabilities hereto shall be governed by, and construed and enforced in accordance with, the laws of the state of
residence of the Claimant at the time of signing this Release without regard to conflicts of laws principles.

This Release supersedes any and all other agreements, written or oral, between BP and Claimant with respect to such
subject matter of this Release.

If there is no signature on the line below for Claimant’s Spouse, Claimant represents and warrants that Claimant is not
married.

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RETURN THIS PAGE AS PART OF YOUR RELEASE Claimant ID:

